          Case 1:15-cv-00271-LY Document 91 Filed 02/07/17 Page 1 of 1


                                                                                          r[)
                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS                      17EB-7 PH2:H
                                 AUSTIN DIVISION
                                                                             CL.          iC   COUT
SOUTH AUSTIN PHARMACY, LLC,
               PLAINTIFF,
                                          §
                                          §
                                                                                         :'
                                          §
V.                                        §     CAUSE NO. A-15-CV-271-LY
                                          §
PHARMACISTS MUTUAL INSURANCE              §
COMPANY,                                  §
              DEFENDANT.                  §


                                 FINAL JUDGMENT

      Before the court is the above entitled cause of action. On February 6, 2017, Plaintiff

filed an Unopposed Motion to Dismiss with Prejudice (Doc. #89), which the court granted

by separate order. Accordingly, the court renders the following Final Judgment pursuant to

Federal Rule of Civil Procedure 58.

      IT IS HEREBY ORDERED that the case hereby CLOSED.

       SIGNED this                 day of February, 2017.



                                         LEL
                                         UN ED STAT SDIS RICTJUDGE
